      Case 8:10-cv-03090-PJM Document 1-2 Filed 11/01/10 Page 1 of 2



                                       U. S. Department of .Jostice


                                       Federal Bureau of Investigation


                                       Clarksburg, WV 26306


                                       July 12, 2010

Mr. Daniel Hubert Ross
7103 Tarquin Avenue
Temple Hills, MD 20748

        SUBJECT:   Firearm Denial Appeal Review
                   National Instant Criminal Background
                   Check System (NICS) Transaction
                   Number (NTN)-lHJ1XMR

Dear Mr. Ross:

           The material you submitted is insufficient to
authorize your eligibility to purchase or redeem a firearm.
Please be advised that the North Carolina State record used in
the evaluation of your transaction currently reveals one
potentially prohibitive arrest record lacking required criteria
(i.e., conviction, dismissal, deferred adjudication, crime
classification status level, domestic relationship, etc.).

           By way of background, the NICS is a national system
that interfaces with existing systems such as the National Crime
Information Center (NCIC) and the Interstate Identification
Index (III) to provide information on individuals who may be
prohibited from the transfer of a firearm pursuant to either
federal and/or state law.

          The FBI CJIS Division's    NICS Section             ',,:as   unable   to
obtain complete disposition information for one arrest contained
on the North Carolina State record that was used as the basis
for your denial.   Consequently, although the original
prohibitive criteria have been resolved, potentially prohibitive
criteria exist on that record.   Therefore, unless the
appropriate documentation is submitted and/or your record is
updated, any future firearm transactions will be subject to a
delay.

           Please be advised, unless the arrest record used in
the evaluation of your transaction is removed from the state
record and/or is updated by the submitting agency, future
      Case 8:10-cv-03090-PJM Document 1-2 Filed 11/01/10 Page 2 of 2



Mr. Daniel Hubert   Ross


transactions may continue to be delayed based upon a name match
with an arrest record.   The name and location of the agency that
holds this potentially prohibitive criteria is as follows:

          North Carolina     State Bureau of Investigation
                            3320 Garner Road
                           Raleigh, NC 27626

           If you have any questions regarding this communication,
you may contact the NICS Section's Customer Service at
1-877-FBI-NICS(324-6427) .

                                       NICS Section
                                       CJIS Division




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